                 IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF INDIANA, HAMMOND DIVISION

JAMES LARKIN.,                                         )
                                                       )
                                                       )
               Plaintiff,                              )   CASE NO. 4:18-CV-65
                                                       )
        v.                                             )   HON. THERESA L. SPRINGMANN
GEOFFREY TALBOTT, et al.                               )
                                                       )
               Defendants                              )
                                                       )
    PLAINTIFF’S RESPONSE TO DEFENDANT TALBOT’S MOTIONS IN LIMINE

        Plaintiff JAMES LARKIN, by his attorneys, respectfully moves in limine to bar certain

evidence and argument from his upcoming trial against Defendant Talbot. In support, Plaintiff

states as follows:

        I.       Defendant Talbot’s Motion in Limine No. 1 Seeking to Bar IDOC Insurance
                 or Indemnification

        Plaintiff does not oppose.

        II.      Defendant Talbot’s Motion in Limine No. 2 Seeking to Bar State Law Tort
                 Claims

        As reflected in the Proposed Pre-Trial Order, Plaintiff’s claim at trial is that Defendant

Talbot violated his Eighth Amendment rights by using excessive force. Plaintiff does not intend

to assert additional state law tort claims at trial.

        III.     Defendant Talbot’s Motion in Limine Nos. 3, 5, 6, and 7 Seeking To Bar
                 Evidence about Dismissed Defendants

        First, Defendant Talbot seeks to bar evidence that Superintendent Mark Sevier, Major

Chad Cornett, Lt. Kevin Halloran, and Mental Health Officer Boren caused or contributed to

Plaintiff’s injuries, that any pattern of physical abuse toward inmates occurred, or that there was

any retaliation against Plaintiff. Dckt. 133 at 3.


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         In Motion in Limine No. 4, Defendant Talbot seeks to bar evidence about dismissed

Defendants Eakin, Armstrong, and Ryan. Dckt. 133 at 4. In Motion in Limine No. 6, Defendant

Talbot seeks to exclude evidence about former Defendants Krause and Bach. Id. at 6. In Motion

in Limine No. 7, Defendant Talbot seeks to exclude evidence about dismissed Defendant

Bradford. Id. at 7.

         Plaintiff does not oppose Defendant Talbot’s motion to bar evidence that these

individuals were formerly defendants in this case. Indeed, Plaintiff’s Motion in Limine No. IV

seeks to bar evidence that any individual was dismissed as a defendant in this case.

         However, to the extent that any of these individuals are relevant to the factual narrative at

trial, Plaintiff can introduce evidence about their involvement and their personal knowledge. At

trial, the jury must consider whether Defendant Talbot’s use of force was applied in a good faith

effort to maintain discipline or if it was used unnecessarily or gratuitously. Lewis v. Downey, 581

F.3d 467, 476 (7th Cir. 2009); Hendrickson v. Cooper, 589 F.3d 887, 891 (7th Cir. 2009); Kinney

v. Ind. Youth Ctr., 950 F.2d 462, 465 (7th Cir. 1991). Relevant evidence includes safety threats to

staff and other inmates, “as reasonably perceived by the responsible officials on the basis on of

the facts known to them . . . .” Id.

         Defendant Talbot’s mental state, and the facts and circumstances leading up to Defendant

Talbot’s use of force, are relevant for the jury’s consideration. Pantaleo v. Hayes, 2013 WL

5311450, at *12 (N.D. Ill. Sept. 20, 2013); Lewis, 581 F.3d at 477. To the extent that these

individuals participated in or observed anything relevant, Plaintiff may present that evidence at

trial.

         Plaintiff is also entitled to present evidence about damages. Damages evidence includes

evidence about Plaintiff’s pain and suffering, mental anguish, discomfort, and loss of enjoyment



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of life. Hendrickson, 589 F.3d at 893. If any of these dismissed Defendants have relevant

knowledge, Plaintiff may elicit testimony from them about damages.

        In sum, to the extent that any of the dismissed defendants have personal knowledge about

events that transpired before and after Defendant Talbot’s use of force that are relevant to

Defendant Talbot’s liability or Plaintiff’s damages, Plaintiff is entitled to elicit that testimony.

The Court should deny Defendant Talbot’s Motions in Limine No. 3, 5, 6, and 7.

        IV.    Plaintiff’s Response to Defendant Talbot’s Motion in Limine No. 4 Seeking to
               Bar Evidence about Pepper Spray Being Unjustified or Unconstitutional

        In Motion in Limine No. 4, Defendant Talbot seeks to bar references to the use of pepper

spray on Plaintiff being unconstitutional. Dckt. 133 at 4.

        Plaintiff’s Eighth Amendment claim is that Defendant Talbot’s use of force on him was

unconstitutional. He is not asserting a claim that the application of pepper spray was

unconstitutional. The use of pepper spray is relevant, however, to Defendant Talbot’s use of

force. See, e.g., McCoy v. Mennerich, 2023 WL 1782255, at *5-6 (S.D. Ill. Feb. 6, 2023);

Pantaleo v. Hayes, 2013 WL 5311450, at *12 (N.D. Ill. Sept. 20, 2013); Lewis, 581 F.3d at 477.

The evidence is relevant to Plaintiff’s condition at the time Defendant Talbot slammed his head

into the ground, and about the amount of force that was necessary to subdue him. Thus, the

events preceding Defendant Talbot’s use of force, including the application of pepper spray, are

highly relevant and admissible at trial. The court should deny Defendant Talbot’s Motion in

Limine to the extent that it seeks to limit evidence about officers’ use of pepper spray on

Plaintiff.




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       V.      Plaintiff’s Response to Defendant Talbot’s Motion in Limine No. 8 to Bar
               Plaintiff from Presenting Evidence at Trial that Defendant Talbot’s Use of
               Force was Excessive

       Defendant Larkin’s Motion in Limine No. 8 seeks to bar “any testimony or other

insinuation that Plaintiff did not resist the cell extraction or the cell extraction team.” Dckt. 133

at 8. In essence, Defendant Talbot seeks to preclude Plaintiff from presenting evidence that

would support the only claim that the jury is required to consider: whether Defendant Talbot

used excessive force on Plaintiff given the totality of the circumstances. In support of this

baseless motion, Defendant Talbot argues that “Plaintiff is precluded from testifying in such a

manner or from raising such arguments because he was found guilty of two different conduct

disciplinary violations associated with the events from April 10, 2018. Dckt. 133 at 8. For the

reasons explained below, Defendant Talbot’s motion must be denied.

       Citing Heck v. Humphrey, Defendant Talbot argues that a civil claim implying the

invalidity of “an outstanding conviction must be dismissed without prejudice because the claim

does not accrue until the conviction has been set aside.” Dckt. 133 at 9. First and fatal to

Defendant Talbot’s motion, Plaintiff has no conviction stemming from the underlying events.

He was never criminally charged. And as a result, Heck has no relevance. Gilbert v. Cook, 512

F.3d 899, 901 (7th Cir. 2008). This Court’s inquiry can end here.

       Second, Defendant Talbot cites Johnson v. Rogers for the proposition that a citizen

cannot use Section 1983 to challenge an intact conviction. Yet, Johnson does not support

Defendant Talbot’s argument. As the Seventh Circuit explained in Johnson, plaintiff “contends

only that Rogers used force that was unreasonable in relation to the nature of his obstruction.

This contention can be resolved in Johnson’s favor without casting any doubt on the validity of

his conviction. It follows that Heck does not block this suit.” Johnson v. Rogers, 944 F.3d 966,



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968 (7th Cir. 2019). Here, unlike in Johnson, Plaintiff was never charged and no conviction is at

issue. But even living in Defendant Talbot’s world, where prison discipline transforms into a

criminal conviction (without a prosecutor, defense counsel, and trial), Johnson holds that a

Section 1983 lawsuit challenging the use of force does not cast “any doubt on the validity of his

conviction” and that “Heck does not block this suit.” The same holds true here.

       Third, Defendant Talbot’s position has been repeatedly rejected by the Seventh Circuit,

which is why his motion omits legal authority directly on point. As the Seventh Circuit held in

Gilbert v. Cook:

       A prison disciplinary panel lacks authority to prescribe, as the punishment for striking a
       guard, a separated shoulder and a gash in a prisoner's arm; guards who are dissatisfied by
       the slow pace and (it may seem to them) light punishments available through the
       formal disciplinary apparatus have no right to take matters into their own hands by
       beating their charges. Just as Wallace v. Kato, ––– U.S. ––––, 127 S.Ct. 1091, 166
       L.Ed.2d 973 (2007), holds that Heck does not affect litigation about police conduct in the
       investigation of a crime, so we hold that Heck and Edwards do not affect litigation about
       what happens after the crime is completed. Public officials who use force reasonably
       necessary to subdue an aggressor are not liable on the merits; but whether the force was
       reasonable is a question that may be litigated without transgressing Heck or
       Edwards. See VanGilder v. Baker, 435 F.3d 689, 692 (7th Cir.2006).

Gilbert v. Cook, 512 F.3d 899, 901 (7th Cir. 2008)

       The reasoning in Gilbert has been appropriately followed across district courts in this

Circuit. In Chizum v. Corr. Med. Servs., Judge DeGuilio rejected Defendant Talbot’s argument

and held that “the legal doctrines of res judicata and collateral estoppel have no application in

the circumstances presented here because “[d]isciplinary panels in state prisons are not courts”

and “facts found (or assumed) by a prison disciplinary board are not entitled to the presumption

of correctness.” Chizum v. Corr. Med. Servs., No. 3:09-CV-527 JD, 2013 WL 2250283, at *8

(N.D. Ind. May 22, 2013). There, the district court held that:



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        If Chizum had pled guilty to criminal charges arising from his allegedly misusing his
        medication, his guilty plea would preclude him from asserting his innocence while his
        conviction remained in effect. Heck v. Humphrey, 512 U.S. 477, 486–87, 114 S.Ct. 2364,
        129 L.Ed.2d 383 (1994) (If the remedy sought under § 1983 would require a finding or
        judgment that would render a criminal conviction or sentence invalid, a § 1983 plaintiff
        must first prove that the conviction or sentence has been “reversed on direct appeal,
        expunged by executive order, declared invalid by a state tribunal authorized to make such
        determination, or called into question by a federal court's issuance of a writ of habeas
        corpus”). But “[p]rison disciplinary hearings are not criminal proceedings.” Baxter v.
        Palmigiano, 425 U.S. 308, 96 S.Ct. 1551, 47 L.Ed.2d 810 (1976).

Id.

        The same must be true here. Any disciplinary and/or grievance proceedings relating to

this incident have no preclusive effect upon Plaintiff’s ability to sue Defendant Talbot, among

others, for excessive force. This Court has granted Plaintiff a trial on this claim and Plaintiff is

entitled to put on evidence in support.1

        Fourth, Defendant Talbot relies upon Edwards v. Balisok when claiming that this “rule

applies with equal force to prison disciplinary convictions, like the ones here.” Edwards v.

Balisok, 520 U.S. 641 (1997). But Defendant Talbot completely misapprehends Edwards, a

lawsuit brought by an incarcerated individual “alleging that the procedures used in his

disciplinary proceeding violated his Fourteenth Amendment due process rights. His amended

complaint requested a declaration that the procedures employed by state officials violated due

process, compensatory and punitive damages for use of the unconstitutional procedures, an

injunction to prevent future violations, and any other relief the court deems just and equitable.”

Id. at 643.



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 Defendant Talbot’s argument is also precluded on waiver grounds given that he declined to plead
his Heck affirmative defense in his answer. Nor did Defendant Talbot raise this affirmative defense
previously. Dckt. 86, 87. As a result, this argument has been waived. Polzin v. Gage, 636 F.3d 834, 838
(7th Cir. 2011).


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       Unlike Edwards, Plaintiff does not challenge the procedural rules of any grievance or

disciplinary proceeding. Instead, Plaintiff filed his Section 1983 lawsuit because of the

excessive force used by Defendant Talbot and others. As the Seventh Circuit explains, “Heck

and Edwards limit only challenges to the fact or duration of a prisoner's sentence, not the

conditions of his confinement.” Hall-Bey v. Hanks, 93 F. App'x 977, 980 (7th Cir. 2004);

DeWalt v. Carter, 224 F.3d 607, 617–18 (7th Cir.2000). Here, Plaintiff’s lawsuit is not based on

the “fact or duration of a prisoner’s sentence,” and as a result, Heck again does not apply.

       For the reasons explained above, Defendant Talbot’s motion must be denied.

       VI.     Plaintiff’s Response to Defendant Talbot’s Motion in Limine No. 9 Regarding
               Absence of Video Evidence

       Defendant Talbot seeks to bar the evidence about why video evidence is absent from this

case. Dckt. 133 at 9. Defendant Talbot relies on this representation from his own document

production, which he posits conclusively prove that the memory card ran out of memory, so

Plaintiff’s cell extraction was not video recorded. Id. at 9-10. Defendant Talbot relies on no

admissible evidence in support of his positions.

       While Defendant Talbot is welcome to take this position at trial, Plaintiff is also entitled

to question Defendant Talbot and other witnesses about the absence of video to confirm or

disprove the accuracy of this representation. For example, Plaintiff is entitled to elicit testimony

about the procedure for video-recording cell extractions, the reason that extractions are recorded,

why that procedure apparently failed in this instance. Since Plaintiff was pro se, he did not have

the ability to conduct depositions. But Plaintiff does intend to subpoena correctional officers to

testify at trial and will question such officers about their knowledge of the underlying events.

       In Martinez v. City of Chicago, 2016 WL 3538823, at *16 (N.D. Ill. June 29, 2016), the

court denied a motion in limine seeking to exclude references to missing witnesses. The court


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deemed the motion overbroad, reasoning that the absence of evidence is relevant. “For example,

if Defendants fail to present any evidence, other than testimony of the Defendants themselves,

showing that Officer Bogdalek was not involved in Plaintiff’s arrest, Plaintiff might reference

that lack of evidence.” Id. The same is true here. Plaintiff can comment on the lack of video

evidence, which should—but does not—exist (as far as Plaintiff is aware), and question

Defendant Talbot and other officers about why this is so. Defendant Talbot’s Motion in Limine

No. 9 must be denied.

       VII.    Plaintiff’s Response to Defendant Talbot’s Motion in Limine No. 10 Seeking
               to Bar Claims Arising from Other Injuries

       As reflected in the Proposed Pretrial Order, Plaintiff’s Eighth Amendment claim arises

from Defendant Talbot’s use of force, resulting in a serious injury to Plaintiff’s eyebrow.

Plaintiff does not intend to assert claims arising from other injuries he sustained. Plaintiff does

intend to present evidence about the events that transpired on April 10, 2018. To the extent that

any other injuries are relevant to the factual narrative of what occurred, Plaintiff is entitled to

present that evidence. See, e.g., McCoy v. Mennerich, 2023 WL 1782255, at *5-6 (S.D. Ill. Feb.

6, 2023) (noting that plaintiff presented direct and circumstantial evidence of excessive force

through evidence about what guards did before incident, including what they did to create

justification for use of force, video evidence, injuries sustained, witness testimony, and relative

sizes of individuals). In other words, although Plaintiff does not have an actionable claim for

other injuries, Plaintiff can present direct and circumstantial evidence about Defendant Talbot’s

use of force, including evidence about other injuries he sustained.




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       VIII. Plaintiff’s Response to Defendant Talbot’s Motion in Limine No 11 Seeking
             To Prevent Plaintiff from Presenting Evidence about Damages

       Defendant Talbot seeks to exclude evidence about medical diagnoses, prognoses,

conclusions, and medical opinions. Dckt. 133 at 13. Defendant Talbot’s motion, however, is an

effort to prevent Plaintiff from presenting damages evidence. Plaintiff is permitted to present

evidence about his condition before, during, and after the excessive force incident. For example,

in Starks-Harris v. Taylor, No. 1:08-CV-176, 2009 WL 2970382, at *4 (N.D. Ind. Sept. 11,

2009), the court permitted the plaintiff to testify about her own health:

       Starks-Harris will be permitted to testify about what she believed to be her medical health
       before and after the incident. Testimony by Starks-Harris about her mental and physical
       health and level of pain, fear, and anxiety prior to, during, and after the incident is not an
       impermissible self-diagnosis. Rather, it is simply her recounting how she personally felt,
       physically and mentally; testimony that is rationally based on her own perception.

In Hendrickson, the Seventh Circuit noted that in cases that do not present complicated questions

of medical causation, “no expert testimony is required to assist jurors in determining the cause of

injuries are within their common experiences or observations.” 589 D.3d at 892. Here, Plaintiff

has a straightforward case of excessive force and consequent damages. As in in Hendrickson,

“[t]his case presents no [ ] complicated question of medical causation. Hendrickson testified that

Cooper beat him up and it hurt really bad. The jury believed him. No further proof was

required for the jury to find Cooper liable for violating Hendrickson’s Eighth Amendment

rights.” Id. Accordingly, Plaintiff can testify about his own health before and after the incident.

The Court should deny Defendant Talbot’s Motion in Limine No. 11.

       IX.     Defendant Talbot’s Motion in Limine No. 12 to Bar Evidence About
               Settlement Discussions

       Plaintiff does not oppose.




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       X.      Plaintiff’s Response to Defendant Talbot’s Motion in Limine No. 13 about
               Prior “Bad Acts”

       Defendant Talbot seeks to bar evidence about Defendant Talbot’s prior bad acts. Dckt.

133 at 15. Defendant Talbot seeks to wholesale exclude evidence that he believes might fall

within Rule 404(b)’s propensity prohibition. Id.

       Plaintiff disagrees that evidence about prior incidents should be per se excluded.

“[E]xcessive force and similar cases have proved especially hospitable to ‘other act’ evidence

under Rule 404(b) on the theory that the evidence is relevant, not to proving propensity, but to

proving intent, motive, or pattern.” Wofford v. Celani, 2012 WL 2847549, at *1 (N.D. Ill. July

11, 2012); see also Batchelor v. City of Chi., 2020 WL 13647794, at *7 (N.D. Ill. Nov. 17, 2020)

(other act evidence may be relevant to permissible 404(b) uses).

       Because no depositions, other than Plaintiff’s deposition, occurred in this case, Plaintiff is

unaware of what specific prior bad acts Defendant Talbot seeks to exclude. Thus, if an issue

involving prior acts arises at trial, the parties and the Court will need to address it in context

under Rule 404(b). But Defendant Talbot should not be permitted to preemptively wholesale

exclude evidence about prior misconduct before the issue has arisen. Thus, the Court should

deny Defendant Talbot’s Motion in Limine No. 13.

       XI.     Defendant Talbot’s Motion in Limine No. 14 Seeking to Bar Evidence About
               Violations of IDOC Internal Policies

       Defendant Talbot seeks to bar evidence that he violated prison policies, asserting that it is

irrelevant to whether he used excessive force on Plaintiff. Dckt. 133 at 16.

       Courts have rejected this argument. In Davis v. Nanny, 2018 WL 2087994, at *2 (S.D. Ill.

May 4, 2018), the court concluded that prison policy violations are relevant and admissible

evidence in Eighth Amendment excessive force cases. There, the court reasoned that there is a



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subjective element of Eighth Amendment excessive force cases, i.e., whether the force was

applied in good faith or applied in bad faith. Id. Violations of prison policy are relevant to

showing bad faith. Id.; see also Estate of Carlock v. Williamson, No. 08-3075, 2013 WL

12244415 (C.D. Ill. June 21, 2013) (concluding that subjective element of Eighth Amendment

claim may be shown by the knowing violation of prison policy); Mays v. Springborn, 575 F.3d

643, 650 (7th Cir. 2009) (“Finally, although violation of the prison’s rules against public

searches was not, be itself, a violation of the Constitution, it was relevant evidence on which the

jury could have relied on to conclude that the searches were done with an intent to harass.”)

(internal citation omitted)).

        The cases Defendant Talbot cites don’t apply here because they are all Fourth

Amendment cases. As Davis explains, the Fourth Amendment standard is different than the

Eighth Amendment standard. Davis, 2018 WL 2087994, at *2. Fourth Amendment claims are

based on an objective reasonableness test, while Eighth Amendment claims involve a subjective

test. Davis, 2018 WL 2087994, at *2. Violations of prison policy are specifically relevant to the

subjective element of Eighth Amendment claims. Id. Thus, violations of prison policy are

relevant to Eighth Amendment claims, and the Court should deny Defendant Talbot’s Motion.

        XII.    Defendant Talbot’s Motion in Limine No. 15 Seeking to Exclude “Golden
                Rule” Arguments

        Plaintiff does not oppose.

        XIII. Defendant Talbot’s Motion in Limine No. 16 Seeking to Exclude Arguments
              about Delays

        Defendant Talbot seeks to exclude argument that Plaintiff has waited a long time for his

day in court. Dckt. 133 at 17. Plaintiff does not anticipate making arguments blaming Defendant

Talbot for any delays.



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       However, the jury will know the date of the incident and the trial date. Plaintiff must be

able to present evidence at trial about the timeline relevant to the excessive force incident and

about subsequent damages. Thus, Plaintiff does not oppose Defendant Talbot’s motion so long

as it does not infringe on Plaintiff’s ability to present evidence about the timing of evens.

       XIV. Defendant Talbot’s Motions in Limine No. 17 and 18 to Exclude Trial
            Witnesses and Exhibits

       Defendant Talbot seeks to exclude Plaintiff’s trial witnesses and exhibits that he asserts

were previously undisclosed.

       Defendant Talbot’s argument is meritless, and merely seeks to take advantage Plaintiff’s

previous pro se status. Because Mr. Larkin was previously pro se, he cannot be held the same

standard as practicing attorneys in terms of procedure rules. See Littler v. Martinez, 2019 WL

1043256, at *16 n.7 (S.D. Ind. Mar. 5, 2019) (noting that pro se litigants receive leeway and

flexibility that counseled litigants do not receive in terms of compliance with procedural rules

and presentation of evidence).

       Rule 26 of the Federal Rules of Civil Procedure permits the Court discretion to allow

late-disclosed witnesses if the violation was justified or harmless. David v. Caterpillar, Inc., 324

F.3d 851, 856-57 (7th Cir. 2003). Relevant factors include whether “(1) the prejudice or surprise

to the party against whom the evidence is offered; (2) the ability of the party to cure the

prejudice, (3) the likelihood of disruption to trial, (4) the bad faith or willfulness involved in not

disclosing the evidence at an earlier date.” Id.

       Here, Defendant Talbot is neither prejudiced nor surprised by Plaintiff’s witness list. All

of Plaintiff’s witnesses disclosed in his Proposed Final Pretrial Order come from documents that

Defendant Talbot produced in discovery. And almost all the witnesses are IDOC employees, and

Defendant Talbot has plenty of notice before trial about their identities. Defendant Talbot’s

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assertion that he would have conducted discovery and depositions differently had he known

about these witnesses is disingenuous; Defendants conducted just one deposition and only

limited written discovery. Nothing suggests he would have done anything differently had

Plaintiff disclosed additional names from Defendant Talbot’s own document production. Finally,

Plaintiff’s initial limited witness list was because of his pro se status, not because of any bad

faith or willfulness.

        As for exhibits, all of Plaintiff’s exhibits identified in the Proposed Pre-Trial Order come

from Defendant’s documents. There is nothing new. Defendant Talbot cannot be unfairly

prejudiced or surprised by documents that he produced in this case.

        Finally, Defendant Talbot cannot complain about Plaintiff’s disclosures in this case when

his own were completely inadequate. For example, Plaintiff’s Interrogatory No. 2 would have

helped him identify potential witnesses, but Defendants refused to answer it for frivolous

reasons:




          Similarly, Defendants failed to provide a complete response to Plaintiff’s interrogatory

seeking the names of witnesses and a summary of the facts to which the witness was expected

to testify, on the basis that they could not comprehend the meaning of the words “you” and

“your”:

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       Defendants never supplemented their response. Defendant Talbot—who has been

represented by counsel throughout this litigation—cannot now argue that Plaintiff’s disclosures

were inadequate, when his own were evasive and uninformative. The Court should deny

Defendant Talbot’s Motions in Limine No. 17 and 18.



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XV.    Defendant Talbot’s Motion in Limine No. 19 to Bar References to Motions in
       Limine and Orders

Plaintiff does not oppose this Motion in Limine.



                                             Respectfully submitted,

                                             s/ Jon Loevy

                                             One of Plaintiff’s Attorneys

                                             Jon Loevy
                                             Elliot Slosar
                                             Margaret Campbell
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                                             Chicago, IL 60607




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                                CERTIFICATE OF SERVICE


       I, Jon Loevy, an attorney, hereby certify that on October 23, 2023, I filed the foregoing

motion using the Court’s CM/ECF system, which effectuated service on all counsel of record.


                                                            /s/ Jon Loevy
                                                            One of Plaintiff’s Attorneys




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